              Case 17-55587-pmb                   Doc 1     Filed 03/28/17 Entered 03/28/17 11:10:28                               Desc Main
                                                            Document     Page 1 of 37

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DN Real Estate Services & Acquisitions, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2020 Howell Mill Rd
                                  Suite D - 199
                                  Atlanta, GA 30318
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       newmansreigroup.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 17-55587-pmb                      Doc 1       Filed 03/28/17 Entered 03/28/17 11:10:28                                      Desc Main
                                                                 Document     Page 2 of 37
Debtor    DN Real Estate Services & Acquisitions, LLC                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
             Case 17-55587-pmb                   Doc 1       Filed 03/28/17 Entered 03/28/17 11:10:28                                  Desc Main
                                                             Document     Page 3 of 37
Debtor   DN Real Estate Services & Acquisitions, LLC                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
              Case 17-55587-pmb                 Doc 1       Filed 03/28/17 Entered 03/28/17 11:10:28                                 Desc Main
                                                            Document     Page 4 of 37
Debtor    DN Real Estate Services & Acquisitions, LLC                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 28, 2017
                                                  MM / DD / YYYY


                             X   /s/ Cortney Newmans                                                      Cortney Newmans
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ Howie Slomka                                                          Date March 28, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Howie Slomka
                                 Printed name

                                 Slomka Law Firm
                                 Firm name

                                 1069 Spring Street NW
                                 Suite 200
                                 Atlanta, GA 30309
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (678) 732-0001                Email address


                                 652875 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
            Case 17-55587-pmb                         Doc 1          Filed 03/28/17 Entered 03/28/17 11:10:28                   Desc Main
                                                                     Document     Page 5 of 37




 Fill in this information to identify the case:

 Debtor name         DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 28, 2017                          X /s/ Cortney Newmans
                                                                       Signature of individual signing on behalf of debtor

                                                                       Cortney Newmans
                                                                       Printed name

                                                                       Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 17-55587-pmb                         Doc 1       Filed 03/28/17 Entered 03/28/17 11:10:28                                         Desc Main
                                                                       Document     Page 6 of 37

 Fill in this information to identify the case:
 Debtor name DN Real Estate Services & Acquisitions, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                credit card                                                                                              $10,621.24
 PO Box 1270
 Newark, NJ 07101
 Bank of America                                                 credit card                                                                                                $9,091.00
 PO Box 982235
 El Paso, TX 79998
 BB&T                                                            credit card                                                                                                $2,425.00
 PO Box 580340
 Charlotte, NC 28258
 Fifth Third Bank                                                credit card                                                                                                $7,000.00
 38 Fountain Square
 Plaza
 Cincinnati, OH
 45263
 Frontier Airline                                                credit card                                                                                                $3,000.00
 PO Box 23066
 Columbus, GA
 31902
 Groundfloor                                                     2233 Chestnut Hill                                 $106,650.00                 $95,000.00                $11,650.00
 Finance Inc.                                                    Circle
 ISOA, ATIMA                                                     Decatur, GA 30032
 75 5th Street NW                                                Purchased
 #2170                                                           January 2017 for
 Atlanta, GA 30308                                               $86,500.
                                                                 Under renovation
                                                                 as of petition date.
                                                                 Anticipates
                                                                 renovations will
 H4 Solutions Group,                                             2996 Briarlake Rd                                   $27,000.00               $450,000.00                   $2,126.91
 Inc.                                                            Decatur, GA
 PO Box 1254                                                     30033.
 Alpharetta, GA                                                  Debtor renovated
 30009                                                           and improved
                                                                 property
                                                                 2015-2016.
                                                                 Purchase Price
                                                                 255K.


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case 17-55587-pmb                         Doc 1       Filed 03/28/17 Entered 03/28/17 11:10:28                                         Desc Main
                                                                       Document     Page 7 of 37


 Debtor    DN Real Estate Services & Acquisitions, LLC                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Jeff Stamey                                                     761 Antoine Street                                                                                     $170,000.00
 4420 Sylvia Drive                                               NW
 Kennesaw, GA                                                    Atlanta, GA 30318
 30144                                                           Purchased in 2015
                                                                 for 210K.
                                                                 Renovated and
                                                                 improved
                                                                 2015-2016.
 Kabbage                                                         business loan                                                                                            $58,000.00
 PO Box 77073
 Atlanta, GA 30357
 Lakelands FCU                                                   credit card                                                                                                $2,800.00
 PO Box 790408
 Saint Louis, MO
 63179




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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             Case 17-55587-pmb                                    Doc 1             Filed 03/28/17 Entered 03/28/17 11:10:28                                                           Desc Main
                                                                                    Document     Page 8 of 37
 Fill in this information to identify the case:

 Debtor name            DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           920,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            17,964.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           937,964.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           862,298.38


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           262,937.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,125,235.62




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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            Case 17-55587-pmb                         Doc 1          Filed 03/28/17 Entered 03/28/17 11:10:28                          Desc Main
                                                                     Document     Page 9 of 37
 Fill in this information to identify the case:

 Debtor name         DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Bank of America
           3.1.     checking                                                checking                        0521                                    $17,964.00



                    BB&T
           3.2.     checking                                                                                4697                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $17,964.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28               Desc Main
                                                                     Document      Page 10 of 37
 Debtor         DN Real Estate Services & Acquisitions, LLC                                   Case number (If known)
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 2996 Briarlake Rd
                     Decatur, GA 30033.
                     Debtor renovated and
                     improved property
                     2015-2016.
                     Purchase Price 255K.                 Fee Simple                        $0.00    Comparable sale                   $450,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                 Desc Main
                                                                     Document      Page 11 of 37
 Debtor         DN Real Estate Services & Acquisitions, LLC                                   Case number (If known)
                Name

            55.2.    761 Antoine Street
                     NW
                     Atlanta, GA 30318
                     Purchased in 2015
                     for 210K.
                     Renovated and
                     improved 2015-2016.                  Fee Simple                        $0.00                                       $375,000.00


            55.3.    2233 Chestnut Hill
                     Circle
                     Decatur, GA 30032
                     Purchased January
                     2017 for $86,500.
                     Under renovation as
                     of petition date.
                     Anticipates
                     renovations will be
                     completed by
                     mid-April, 2017
                     Likely to sell for
                     $185K.                               Fee Simple                        $0.00      Comparable sale                   $95,000.00




 56.        Total of Part 9.                                                                                                         $920,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.newmansreigroup.com                                                         $0.00                                                $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28            Desc Main
                                                                     Document      Page 12 of 37
 Debtor         DN Real Estate Services & Acquisitions, LLC                                  Case number (If known)
                Name


 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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             Case 17-55587-pmb                             Doc 1          Filed 03/28/17 Entered 03/28/17 11:10:28                                         Desc Main
                                                                         Document      Page 13 of 37
 Debtor          DN Real Estate Services & Acquisitions, LLC                                                         Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $17,964.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $920,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $17,964.00          + 91b.              $920,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $937,964.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 5
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                                Desc Main
                                                                     Document      Page 14 of 37
 Fill in this information to identify the case:

 Debtor name         DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   FCI Lender Services, Inc.                      Describe debtor's property that is subject to a lien                 $375,126.91               $450,000.00
       Creditor's Name                                2996 Briarlake Rd
                                                      Decatur, GA 30033.
                                                      Debtor renovated and improved property
                                                      2015-2016.
       PO Box 27370                                   Purchase Price 255K.
       Anaheim, CA 92809-0112
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8080
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. FCI Lender Services, Inc.
       2. H4 Investments Group,
       LLC
       3. H4 Solutions Group, Inc.

 2.2   FCI Lender Services, Inc.                      Describe debtor's property that is subject to a lien                 $303,521.47               $375,000.00
       Creditor's Name                                761 Antoine Street NW
                                                      Atlanta, GA 30318
                                                      Purchased in 2015 for 210K.
       PO Box 27370                                   Renovated and improved 2015-2016.
       Anaheim, CA 92809-0112
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                               Desc Main
                                                                     Document      Page 15 of 37
 Debtor       DN Real Estate Services & Acquisitions, LLC                                              Case number (if know)
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8074
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Groundfloor Finance Inc.                       Describe debtor's property that is subject to a lien                     $106,650.00        $95,000.00
       Creditor's Name                                2233 Chestnut Hill Circle
                                                      Decatur, GA 30032
                                                      Purchased January 2017 for $86,500.
                                                      Under renovation as of petition date.
                                                      Anticipates renovations will be completed by
       ISOA, ATIMA                                    mid-April, 2017
       75 5th Street NW #2170                         Likely to sell for $185K.
       Atlanta, GA 30308
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/2017                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   H4 Investments Group, LLC                      Describe debtor's property that is subject to a lien                      $50,000.00       $450,000.00
       Creditor's Name                                2996 Briarlake Rd
                                                      Decatur, GA 30033.
                                                      Debtor renovated and improved property
                                                      2015-2016.
       PO Box 1254                                    Purchase Price 255K.
       Alpharetta, GA 30009
       Creditor's mailing address                     Describe the lien
                                                      2nd Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/2015                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                               Desc Main
                                                                     Document      Page 16 of 37
 Debtor       DN Real Estate Services & Acquisitions, LLC                                              Case number (if know)
              Name


 2.5    H4 Solutions Group, Inc.                      Describe debtor's property that is subject to a lien                      $27,000.00         $450,000.00
        Creditor's Name                               2996 Briarlake Rd
                                                      Decatur, GA 30033.
                                                      Debtor renovated and improved property
                                                      2015-2016.
        PO Box 1254                                   Purchase Price 255K.
        Alpharetta, GA 30009
        Creditor's mailing address                    Describe the lien
                                                      2nd Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        8/2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $862,298.38

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Swank Law Group, LLC
         c/o Justin M. Pawluk                                                                                   Line   2.5
         675 Mansell Road
         Suite 130
         Roswell, GA 30076

         Swank Law Group, LLC
         c/o Justin M. Pawluk                                                                                   Line   2.4
         675 Mansell Road
         Suite 130
         Roswell, GA 30076




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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             Case 17-55587-pmb                        Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                                     Desc Main
                                                                     Document      Page 17 of 37
 Fill in this information to identify the case:

 Debtor name         DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $10,621.24
           American Express                                                     Contingent
           PO Box 1270                                                          Unliquidated
           Newark, NJ 07101                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number      1009
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,091.00
           Bank of America                                                      Contingent
           PO Box 982235                                                        Unliquidated
           El Paso, TX 79998                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number      1628
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,425.00
           BB&T                                                                 Contingent
           PO Box 580340                                                        Unliquidated
           Charlotte, NC 28258                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number      6643
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,000.00
           Fifth Third Bank                                                     Contingent
           38 Fountain Square Plaza                                             Unliquidated
           Cincinnati, OH 45263                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number      0660
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                                     Desc Main
                                                                     Document      Page 18 of 37
 Debtor       DN Real Estate Services & Acquisitions, LLC                                             Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,000.00
           Frontier Airline                                                     Contingent
           PO Box 23066                                                         Unliquidated
           Columbus, GA 31902                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number      8770
                                                                             Is the claim subject to offset?       No     Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $170,000.00
           Jeff Stamey                                                          Contingent
           4420 Sylvia Drive                                                    Unliquidated
           Kennesaw, GA 30144                                                   Disputed
           Date(s) debt was incurred 10/2015
                                                                                             761 Antoine Street NW
                                                                             Basis for the claim:
           Last 4 digits of account number                                   Atlanta, GA 30318
                                                                             Purchased in 2015 for 210K.
                                                                             Renovated and improved 2015-2016.
                                                                             Is the claim subject to offset?       No     Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $58,000.00
           Kabbage                                                              Contingent
           PO Box 77073                                                         Unliquidated
           Atlanta, GA 30357                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    business loan
           Last 4 digits of account number      4174
                                                                             Is the claim subject to offset?       No     Yes

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,800.00
           Lakelands FCU                                                        Contingent
           PO Box 790408                                                        Unliquidated
           Saint Louis, MO 63179                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number      0644
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       262,937.24

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          262,937.24




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                     Desc Main
                                                                     Document      Page 19 of 37
 Fill in this information to identify the case:

 Debtor name         DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Purchase contract for
             lease is for and the nature of               727 Holmes Street.
             the debtor's interest                        Feb. 21, 2017.

                  State the term remaining                                            Lindsey McMullen
                                                                                      c/o Tayor Adkins, broker
             List the contract number of any                                          taylorpullman@dorseyalston.com
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                 Desc Main
                                                                     Document      Page 20 of 37
 Fill in this information to identify the case:

 Debtor name         DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Brendan Hill                                                                         H4 Investments                    D   2.4
                                                                                                  Group, LLC                        E/F
                                                                                                                                    G




    2.2      Cortney                           309 Glenlea Lane                                                                     D
             Newmans                           Greenville, SC 29617                                                                 E/F
                                                                                                                                    G




    2.3      Thomas Hagan                      5401 Hedge Brook Cove                              Jeff Stamey                       D
                                               Acworth, GA 30101                                                                    E/F       3.6
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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              Case 17-55587-pmb                       Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                             Desc Main
                                                                     Document      Page 21 of 37



 Fill in this information to identify the case:

 Debtor name         DN Real Estate Services & Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                               $390,989.39
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $400,000.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               US Legacy                                                   December                         $10,000.00           Secured debt
               111113 Houze Rd                                             2016                                                  Unsecured loan repayments
               #100
                                                                                                                                 Suppliers or vendors
               Roswell, GA 30076
                                                                                                                                 Services
                                                                                                                                 Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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              Case 17-55587-pmb                       Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                                 Desc Main
                                                                     Document      Page 22 of 37
 Debtor       DN Real Estate Services & Acquisitions, LLC                                               Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.2.
               US Legacy Development, Inc.                                 3/6/2017                         $71,149.00                Secured debt
               PO Box 2389                                                                                                            Unsecured loan repayments
               Roswell, GA 30077
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               FCI Lender Services, Inc.                                   3/6/2017                        $266,429.44                Secured debt
               PO Box 27370                                                                                                           Unsecured loan repayments
               Anaheim, CA 92809-0112
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    H4 Investment Group, LLC                          Collection on              Fulton County State Court                      Pending
               and H4 Solutions Group, Inc.                      Note.                                                                     On appeal
               v. DN Real Estate Services &                      Not yet served.
                                                                                                                                           Concluded
               Acquisitions, LLC and
               Cortney Newmans and
               Brendan Hill
               16EV 005041

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                              Desc Main
                                                                     Document      Page 23 of 37
 Debtor        DN Real Estate Services & Acquisitions, LLC                                                  Case number (if known)




8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Northern District Bankruptcy
                 Court
                 75 Ted Turner Drive SW
                 Atlanta, GA 30303                                   C11 filing fees                                           Feb 2017               $1,717.00

                 Email or website address


                 Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                            Desc Main
                                                                     Document      Page 24 of 37
 Debtor        DN Real Estate Services & Acquisitions, LLC                                               Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.2.     The Slomka Law Firm, PC                             C11 Attorney fees. Pre-petition prep and
                 1069 Spring Street NW                               adivce re filing.
                 2nd Floor                                           $15,000 was put in Trust to pay for filing
                 Atlanta, GA 30309                                   fees, pre-petition retainer.                              Feb 2017               $1,500.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value
       13.1 Lindsey & James McMullen                             727 Holmes Street, NW, Atlanta, GA
       .    604 Willowgreen CT SE                                30318. Property sold for $360,000.
                Covington, GA 30014                              Debtor received $6567.87 at closing.                    3/6/2017                 $360,000.00

                Relationship to debtor
                None


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.




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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                            Desc Main
                                                                     Document      Page 25 of 37
 Debtor      DN Real Estate Services & Acquisitions, LLC                                                Case number (if known)



                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                                 Desc Main
                                                                     Document      Page 26 of 37
 Debtor      DN Real Estate Services & Acquisitions, LLC                                                Case number (if known)




      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Ki Y Shin                                                                                                                  Quarterly
                    4501 Old Spartanburg Rd                                                                                                    April, August,
                    Ste. 15                                                                                                                    November, January
                    Taylors, SC 29687                                                                                                          each year
                                                                                                                                               Started 2015

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                           Desc Main
                                                                     Document      Page 27 of 37
 Debtor      DN Real Estate Services & Acquisitions, LLC                                                Case number (if known)



              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Smith & Shin CPAs, LLC
                    4501 Old Spartanburg Rd
                    Ste. 15
                    Taylors, SC 29687

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Cortney Newmans                                309 Glenlea Lane                                    Member                                100%
                                                      Greenville, SC 29617



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                           Desc Main
                                                                     Document      Page 28 of 37
 Debtor      DN Real Estate Services & Acquisitions, LLC                                                Case number (if known)




    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 28, 2017

 /s/ Cortney Newmans                                                     Cortney Newmans
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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              Case 17-55587-pmb                            Doc 1          Filed 03/28/17 Entered 03/28/17 11:10:28                                               Desc Main
                                                                         Document      Page 29 of 37
 Fill in this information to identify your case:

 Debtor 1                   Cortney Newmans
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             920,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              17,964.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             937,964.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             862,298.38

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             262,937.24


                                                                                                                                     Your total liabilities $             1,125,235.62


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                      N/A

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                      N/A

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                      Desc Main
                                                                     Document      Page 30 of 37
 Debtor 1      DN Real Estate Services & Acquisitions, LLC                                Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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              Case 17-55587-pmb                       Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                        Desc Main
                                                                     Document      Page 31 of 37




 Fill in this information to identify your case:

 Debtor 1                    Cortney Newmans
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Cortney Newmans                                                       X
              Cortney Newmans                                                           Signature of Debtor 2
              Signature of Debtor 1

              Date       March 28, 2017                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                    Desc Main
                                                                     Document      Page 32 of 37
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       DN Real Estate Services & Acquisitions, LLC                                                      Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                $300/hour
             Prior to the filing of this statement I have received                                        $                   1500.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 28, 2017                                                               /s/ Howie Slomka
     Date                                                                         Howie Slomka 652875 GA
                                                                                  Signature of Attorney
                                                                                  Slomka Law Firm
                                                                                  1069 Spring Street NW
                                                                                  Suite 200
                                                                                  Atlanta, GA 30309
                                                                                  (678) 732-0001 Fax: 1-888-259-6137
                                                                                  Name of law firm




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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28                               Desc Main
                                                                     Document      Page 33 of 37
                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      DN Real Estate Services & Acquisitions, LLC                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 28, 2017                                                         Signature /s/ Cortney Newmans
                                                                                            Cortney Newmans

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28       Desc Main
                                                                     Document      Page 34 of 37




                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      DN Real Estate Services & Acquisitions, LLC                                              Case No.
                                                                                    Debtor(s)        Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       March 28, 2017                                              /s/ Cortney Newmans
                                                                         Cortney Newmans/Member
                                                                         Signer/Title




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    Case 17-55587-pmb   Doc 1    Filed 03/28/17 Entered 03/28/17 11:10:28   Desc Main
                                Document      Page 35 of 37


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                        American Express
                        PO Box 1270
                        Newark, NJ 07101



                        Bank of America
                        PO Box 982235
                        El Paso, TX 79998



                        BB&T
                        PO Box 580340
                        Charlotte, NC 28258



                        Brendan Hill




                        Cortney Newmans
                        309 Glenlea Lane
                        Greenville, SC 29617



                        FCI Lender Services, Inc.
                        PO Box 27370
                        Anaheim, CA 92809-0112



                        Fifth Third Bank
                        38 Fountain Square Plaza
                        Cincinnati, OH 45263



                        Frontier Airline
                        PO Box 23066
                        Columbus, GA 31902



                        Groundfloor Finance Inc.
                        ISOA, ATIMA
                        75 5th Street NW #2170
                        Atlanta, GA 30308
Case 17-55587-pmb   Doc 1    Filed 03/28/17 Entered 03/28/17 11:10:28   Desc Main
                            Document      Page 36 of 37



                    H4 Investments Group, LLC
                    PO Box 1254
                    Alpharetta, GA 30009



                    H4 Solutions Group, Inc.
                    PO Box 1254
                    Alpharetta, GA 30009



                    Jeff Stamey
                    4420 Sylvia Drive
                    Kennesaw, GA 30144



                    Kabbage
                    PO Box 77073
                    Atlanta, GA 30357



                    Lakelands FCU
                    PO Box 790408
                    Saint Louis, MO 63179



                    Lindsey McMullen
                    c/o Tayor Adkins, broker
                    taylorpullman@dorseyalston.com



                    Swank Law Group, LLC
                    c/o Justin M. Pawluk
                    675 Mansell Road
                    Suite 130
                    Roswell, GA 30076



                    Thomas Hagan
                    5401 Hedge Brook Cove
                    Acworth, GA 30101
            Case 17-55587-pmb                         Doc 1           Filed 03/28/17 Entered 03/28/17 11:10:28             Desc Main
                                                                     Document      Page 37 of 37



                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      DN Real Estate Services & Acquisitions, LLC                                                    Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for DN Real Estate Services & Acquisitions, LLC in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:



    None [Check if applicable]




 March 28, 2017                                                        /s/ Howie Slomka
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